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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 __________________________________________x
 FARI MURRAY,
 DANIEL MOYLE,
 ROY WELSH,
 CARLOS PALAGUACHI,
 AHMED RADWAN,
 ROBERT SANTIAGO,
 and
 WARREN PAYNE,
 individually and on behalf of others similarly
 situated,                                                  Case Number 2:20-cv-01427-MKB-LB
                                               Plaintiffs   Hon. Margo K. Brodie
 -against-


 UNITED PARCELS SERVICE, INC.,
 WILLIAM GREY,
 CHANCE STEWART, and
 LLOYD HALL
                                     Defendants.
 ____________________________________________x

 MEMORANDUM OF LAW IN OPPOSITION TO INDIVIDUAL DEFENDANTS
 WILLIAM GREY, CHANCE STEWART, and LLOYD HALL’s MOTION TO DISMISS
 PLAINTIFFS’ SECOND AMENDED COMPLAINT




 On the Brief:

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                                   PROCEDURAL HISTORY

        On March 18, 2020, Plaintiffs Fari Murray, Carlos Palaguachi, and Warren Payne filed a

 complaint against Defendant United Parcel Service (UPS), establishing wage and hour violations

 under both federal and New York state laws, as well as arguing civil rights violations under Title

 VII. On April 13, 2020, the complaint was amended, adding plaintiff Roy Welsh, naming

 individual defendants, and establishing property damage, negligent and intentional emotional

 distress, discrimination claims under the New York State Human Rights Laws (NYSHRL), and

 disability discrimination claims under the Rehabilitation Act and Americans with Disabilities Act

 (ADA). On February 19, 2021, Plaintiffs further amended the complaint to include Ahmed

 Radwan and Robert Santiago as plaintiffs, withdrawing several claims and adding claims under §

 215 and 740 of the New York Labor Law (NYLL) and the common law unjust enrichment

 standard. Defendants have moved to dismiss Plaintiffs', and the Plaintiffs, in turn, oppose that

 12(b)(6) claims.

        A. Factual History

        I.      Plaintiff Fari Murray

        Plaintiff Murray is an African American male from Westchester County, New York. (C. at

 ¶¶ 3). He served as a UPS employee for over fifteen years, from approximately January of 2003

 to October 8, 2018. Id. at 4. Murray began his career as a UPS driver and was promoted to the role

 of On-Road Supervisor. He served in this role for a decade, consistently meeting the standards

 required in his role. Id. Plaintiff Murray raised concerns of gender and race-based wage

 discrimination, Department of Transportation (DOT) violations, massive overtime theft of delivery

 drivers, and other UPS management and HR abuses. Id. at 9. Specifically, Plaintiff Murray is

 prepared to show that UPS senior management stole hundreds of overtime hours from its drivers,




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 who routinely work 50-80 hours a week. Id. at 10, and systematically altered employees’ punch-

 in and punch-out times. Id. Further, Plaintiff Murray is prepared to show that he received a 20%

 lower salary than his similarly qualified Caucasian coworkers. UPS management forced drivers to

 pay for accidents out of pocket instead of reporting accidents to UPS insurance. Id. Plaintiff

 Murray has sustained substantial psychological and monetary damages due to the hostile work

 environment at UPS and seeks whistleblower protections. Id. at 10.

        II.     Plaintiff Daniel Moyle

        Plaintiff Moyle is a veteran of the United States Marine Corp. and a former seven-year

 UPS employee. Like Plaintiff Murray, Plaintiff Moyle is prepared to show that UPS engaged in

 massive overtime theft of its delivery drivers. Id. at 23. Further, Plaintiff Moyle is prepared to

 show that UPS committed insurance fraud and accident coverups. Id. at 26. As a UPS employee,

 Plaintiff Moyle felt pressured to unethical and illegal activities to cheat workers, customers, and

 insurers. Id. at 23. While on short-term disability leave, Plaintiff Moyle was demoted and

 transferred to a UPS branch in upstate New York. Id. at 30. Like Plaintiff Murray, Plaintiff Moyle

 has suffered severe emotional distress due to the hostile work environment at UPS and seeks

 whistleblower protections. Id.

        III.    Plaintiff Roy Welsh

        Plaintiff Welsh is a former member of the United States Marine Corps and Israeli Defense

 Forces. Id. at 32. Like the two prior plaintiffs, Plaintiff Welsh witnessed massive overtime theft

 and DOT hours of service violations, management readiness exam cheating, and fraudulent

 reporting of accidents. Id. at 33. Further, Plaintiff Welsh claims that he was the victim of a

 homophobic slur and was prohibited from attending Shabbat Dinner. Id. at 36-67. As both a

 homosexual and Jewish man, Plaintiff Welsh found this behavior deeply hurtful. Plaintiff Welsh




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 resigned from his position at UPS roughly two months after these incidents. Id. at 38. Like the two

 prior plaintiffs, Plaintiff Welsh has suffered severe psychological distress due to the hostile work

 environment present at UPS. Id. at 39. He also seeks whistleblower protections. Id.



                                         LEGAL STANDARD

         A motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure cannot be

 granted unless a complaint fails to "state a claim to relief that is plausible on its face." Ashcroft v.

 Iqbal, 556 US 662, 678 (2009); see also Fed R. Civ. P. 12(b)(6). In reviewing a motion to dismiss

 under Rule 12(b)(6), a court must “accept all factual allegations in the complaint as true and draw

 inferences from those allegations in the light most favorable to the plaintiff.” Tsirelman v. Daines,

 794 F.3d 310, 313 (2d. Cir. 2015) (quoting Jaghory v. NY State Dep’t of Educ., 131 F.3d 326, 329

 (2d. Cir. 1997)). Regarding discrimination claims, courts require only that plaintiffs’ claims

 “provide an outline of what is necessary to render [employment discrimination] claims for relief

 plausible.” Pahuja v. Am. Univ. of Antigua, 11 Civ. 4607, 2012 US Dist. (SDNY December 18,

 2012) (quoting Somersett v. City of New York, 2011 US Dist. (SDNY June 28, 2011)).



                                             ARGUMENT

 I, II, III, and V. PLAINTIFFS WITHDRAW THE NYLL, FEDERAL DISCRIMINATION,
 DISABILITY DISCRIMINATION, and CONSTRUCTIVE DISCHARGE CLAIMS
 AGAINST INDIVIDUAL DEFENDANTS.

         Regarding defendants’ first, second, third, and fifth arguments, the plaintiffs withdraw the

 claims against individual defendants.




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 PLAINTIFFS MOYLE, WELSH, AND MURRAY PRESENT FACTS TO SATISFY THE
 PLEADING STANDARD FOR RETALIATION UNDER THE NYSHRL AND THE
 NYCHRL
      Plaintiff Moyle, Welsh, and Murray present facts necessary to satisfy the pleading standard

 for retaliation under the NYCHRL.

        A retaliation claim under the NYCHRL a retaliation claim is established so long as the

 plaintiffs show that "(1) he or she engaged in protected activity as that term is defined under the

 NYCHRL, (2) his or her employer engaged in conduct which was reasonably likely to deter a

 person from engaging in that protected activity, and (4) there is a causal connection between the

 protected activity and the alleged retaliatory conduct.

        Under the NYCHRL, "a plaintiff need not establish that the alleged retaliation or

 discrimination 'result[ed] in an ultimate action concerning employment… or in a materially

 adverse change in the terms or conditions of employment so long as 'the retaliatory or

 discriminatory act… [was] reasonably likely to deter a person from engaging in protected activity"

 Brightman v. Prison Health Serv., Inc., 108 A.D.3d 739, 739 970 NYS 2d 789 (quoting

 Administrative Code § 8-107[7]). Further, the NYCHRL should be construed "broadly in favor of

 discrimination plaintiffs, to the extent that such a construction is reasonably possible." Albunio v.

 City of New York, 16 N.Y.3d 472, 477-78, 922 N.Y.S.2d 244, 947 N.E.2d 135 (2011).

        Here, the plaintiffs did engage in protected activity. Plaintiffs Moyle and Welsh made

 internal complaints via the 1800 hotline, complained to upper management, and contacted HR on

 several occasions. (C. at ¶¶ 50). Plaintiff Welsh also filed complaints concerning homophobia and

 religious observance discrimination, protected under the NYCHRL. Id. at 52. Plaintiff Murray

 filed a complaint with HR concerning his race-based wage discrimination claims. Id. at 53. All

 employees informed their supervisors of the complaints in question. Id. Defendants were aware of

 plaintiffs’ protected activity, and complaints were documented with HR. Id.



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        Further, all three plaintiffs suffered adverse action based on their activity. Plaintiffs Moyle

 and Welsh allege that the defendant corporation took several adverse actions against them,

 including write-ups, heightened scrutiny, denial of disability requests, egregious hour and shift

 assignments, and refusal of a right to religious observance (Shabbat Dinner). Id. at 51. Plaintiff

 Murray was terminated after raising the discrimination claims. Id. at 53.

        Further, plaintiff Murray's claims meet the standard for causal connection through temporal

 proximity, as his termination occurred within one month of his complaint. Id. at 53.

        For the reasons above, all three plaintiffs present the necessary facts to satisfy the pleading

 standard for retaliation under the NYCHRL.



 VI. PLAINTIFFS MOYLE, MURRAY, AND WELSH HAVE MET THE NYCHRL
 STANDARD FOR AIDING AND ABETTING CLAIMS
       According to NYC Admin. Code § 8-107(6) Aiding and abetting, it shall be unlawful

 discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of any of the

 acts forbidden under this chapter or attempt to do so. As previously mentioned, each Plaintiff

 provides facts claiming that the defendants implemented adverse work conditions upon the

 plaintiffs following their protected activity. Plaintiffs Moyle and Welsh suffered severe depression

 and anxiety, causing their resignations, while Plaintiff Murray was terminated from his position.

 (C. at ¶¶ 59-61). Temporal proximity evidences the causal connection between each Plaintiff's

 resignation or termination and the adverse work conditions that the defendants placed upon them.

 Id. The implementation of these adverse work conditions evidences Defendant's prohibited

 conduct set forward above.

        For these reasons, all three plaintiffs have met the NYCHRL standard for aiding and

 abetting claims.




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 PLAINTIFFS MOYLE, WELSH, AND MURRAY HAVE PROVIDED EVIDENCE OF A
 VIOLATION OF NEW YORK LABOR LAW § 740 AND 215
      The plaintiffs here have provided evidence of a violation of NYLL § 740 and 215. To

 maintain an action under § 740, an employee must “plead and prove that the employer engaged in

 an activity, policy, or practice that constituted an actual violation of law, rule, or regulation.” Khan

 v. State Univ. of New York Health Science Ctr. at Brooklyn, 288 A.D.2d 350, 350 734 N.Y.S.2d

 92 (2d Dept. 2001). To recover under NY Lab. Law § 740, plaintiffs must show that he reported

 or threatened to report the employer's activity, policy, or practice, but need not claim that he cited

 any particular law, rule, or regulation at the time that the Plaintiff made a report. Tondra v. Kadmon

 Holdings, Inc., 405 F. Supp. 3d 576, 579 (S.D.N.Y 2019); see also Barker v. Peconic Landing,

 885 F.Supp.2d 564, 571 (E.D.N.Y. 2012); see also Villarin v. Rabbi Haskel Lookstein School, 96

 A.D.3d 1, 942 N.Y.S.2d 67 (1st Dep’t.2012).

         According to § 215 and 740, plaintiffs' claims are authorized and instituted based upon

 defendants' dangerous and potentially deadly employment practices. Specifically, plaintiffs

 complain that defendants engaged in DOT violations for both the package delivery drivers and the

 on-road supervisors. Here, complaints of dangerous 17-hour shifts were systemically quashed by

 defendants. (C. at ¶¶ 16). Here, all three plaintiffs raised concerns with the HR defendant's

 unethical and dangerous practice of forcing on-road supervisors to violate DOT hours regulations.

 Id. at 63-64. All three plaintiffs provide evidence of retaliatory behavior on behalf of the

 defendants, as previously mentioned. Defendant's alleged DOT violations constitute both an actual

 violation of the law and a substantial threat to public health and safety. For these reasons, the

 plaintiffs meet the standard set in Tondra and have provided evidence of § 215 and 740 violations.




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                                       CONCLUSION

        For the reasons set forth above, Plaintiff’s respectfully request that the court denies

 Defendant’s motions to dismiss.



 May 5, 2021                                              ______________________________

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